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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE




United States of America

     v.                                        Case No. 07-cr-64-PB

Jason Thomas

                                 O R D E R


     The defendant, through counsel, has moved to continue the

July 10, 2007 trial in the above case, citing the need for

additional time to negotiate a plea agreement or prepare for

trial.    The government     does not object to a continuance of the

trial date.

     Accordingly, for the above reason and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from July 10, 2007 to October 10, 2007.                  In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendant in a speedy trial.
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      The court will hold a final pretrial conference on October

2, 2007 at 3:45 p.m.

      SO ORDERED.



                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

June 29, 2007


cc:   Bjorn Lange, Esq.
      Peter Papps, Esq.
      United States Probation
      United States Marshal




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